                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


 UNITED STATES OF AMERICA,                         )
                                                   )
          Plaintiff,                               )
                                                   )
 v.                                                )    No. 3:23-mj-02033
                                                   )
 JOSIAH ERNESTO GARCIA                             )
                                                   )
          Defendant.                               )

                                               ORDER

         In accordance with the ruling at the close of the hearing on April 20, 2023, the Stay of

Release entered by Magistrate Judge Frensley is hereby LIFTED. Defendant shall be released

from the custody of the U.S. Marshal Service pending the next hearing on Wednesday, April 26,

2023, at 1:30 p.m., under the following terms and conditions:

         1. The Defendant is placed in the custody of his sister, Heather Naomi Diaz, who agrees

            to (a) supervise the Defendant, (b) use every effort to assure the Defendant’s appearance

            at all court proceedings, and (c) notify the court immediately if the Defendant violates a

            condition of release or is no longer in the custodian’s custody.

         2. Defendant shall be under the active supervision of the United States Probation Office

            for the Middle District of Tennessee, with courtesy supervision provided by the

            Probation Office of the Southern District of Ohio.

         3. From Friday, April 21, 2023, through Tuesday, April 25, 2023, Defendant shall have

            daily contact with the pretrial release officer either in person or by phone as directed

            by the pretrial release officer.




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       4. On Friday, April 21, 2023, a pretrial services officer shall conduct a home visit of Ms.

           Diaz’s home in Amanda, Ohio, and shall ensure that the home is suitable, and does not

           contain any weapons or illegal substances.

       5. Defendant shall be allowed access to Ms. Diaz’s phone to speak with probation and/or

           his attorney. There shall be no deletions on the phone by anyone during this period.

       6. Between now and the hearing on April 26, 2023, Defendant a) shall have no access to

           the internet; b) shall not be subject to location monitoring and, c) shall not seek

           employment.

       7. Defendant’s travel is limited to travelling from Nashville, Tennessee, to Amanda, Ohio,

           and back for Court proceedings; and from Amanda, Ohio, to Columbus, Ohio, and

           back, if requested by pretrial services in Columbus, Ohio.

       To the extent that the conditions imposed by Magistrate Judge Frensley have not been

changed by the foregoing, Defendant shall abide by the conditions of release set forth in his Order

Setting Conditions of Release (Doc. No. 15).

       IT IS SO ORDERED.




                                               ____________________________________
                                               WAVERLY D. CRENSHAW, JR.
                                               CHIEF UNITED STATES DISTRICT JUDGE




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